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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

JOHN DOE (a pseudonym), on behalf of himself
and all others similarly situated                                                   PLAINTIFF

V.                                   No. 4:15-cv-00640 JM

AVID LIFE MEDIA, INC., an Ontario corporation, and
AVID DATING LIFE, INC., an Ontario Corporation,
d/b/a ASHLEY MADISON                                                             DEFENDANTS


                           DEFENDANTS’ MOTION TO DISMISS

       Defendants Avid Life Media, Inc. and Avid Dating Life, Inc. (together, “Avid”), pursuant

to Federal Rules of Civil Procedure 10(a), 12(b)(1), 12(b)(2), 12(b)(6), 17(a)(1), and 41(b), move

to dismiss and, in support, state as follows:

       1.      The Federal Rules of Civil Procedure require that a complaint include the true

name of all parties. Fed. R. Civ. P. 10(a); Fed. R. Civ. P. 17(a)(1). Thus, “[w]hen a party wishes

to file a case anonymously or under a pseudonym, it must first petition the district court for

permission to do so.” W.N.J. v. Yocum, 257 F.3d 1171, 1172 (10th Cir. 2001) (emphasis added).

Where no permission is granted, the case must be dismissed. Id.

       2.      In failing to comply with Rule 10(a), Plaintiff has failed to invoke the subject-

matter jurisdiction of the Court (Rule 12(b)(1)), failed to provide the Court with personal

jurisdiction over the parties (Rule 12(b)(2)), and failed to plead any claim upon which relief can

be granted (Rule 12(b)(6)). Plaintiff’s purported action is further subject to dismissal under Rule

41(b) for failure to comply with the requirements of Rules 10(a) and 17(a)(1).

       3.      Moreover, any attempt to proceed pseudonymously would have failed because

Plaintiff could not demonstrate the “exceptional circumstances” necessary to justify

pseudonymous pleading. Courts have allowed pseudonymous pleadings only in “the exceptional
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case” in which “the plaintiff has a substantial privacy right which outweighs the customary and

constitutionally-embedded presumption of openness in the judicial proceeding.” Doe v. Frank,

951 F.2d 320, 323 (11th Cir. 1992). There are no “exceptional” circumstances here, and the

interest of the public in an open proceeding is particularly strong because Plaintiff not only seeks

relief on his own behalf but also seeks to act as a representative on behalf of a putative class.

        WHEREFORE, for the foregoing reasons and for those set forth in Avid’s accompanying

brief in support, Avid Life Media, Inc. and Avid Dating Life, Inc. respectfully request that this

Court enter an order dismissing Plaintiff’s amended complaint and conditioning any leave to

amend on Plaintiff’s complying with Federal Rules 10(a) and 17(a)(1) by pleading under his true

name.

        Dated: November 23, 2015.

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                                               Attorneys for Defendants Avid Life Media, Inc. and
                                               Avid Dating Life, Inc.




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                             CERTIFICATE OF SERVICE

       I hereby certify that on November 23, 2015, the foregoing was electronically filed with

the Clerk of Court using the CM/ECF system which will send notification of such filing to the

following:

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                                           /s/ E. B. Chiles IV
                                           E. B. Chiles IV




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